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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

DWAINE COLEMAN,                                 )
                                                )
          Plaintiff,                            )
                                                )       Civil No. 3:15-cv-00898-SMY
vs.                                             )
                                                )       JURY TRIAL DEMANDED
LT. VINSON, LT. MITCHELL,                       )
LT. HARRISON, and C/O BLESSING,                 )
                                                )
          Defendants.                           )

                               SECOND AMENDED COMPLAINT

          COMES NOW Plaintiff Dwaine Coleman, by and through his undersigned counsel, and

for his Second Amended Complaint against Lieutenants Vinson, Mitchell and Harrison and

Correctional Officer Blessing, states as follows:

                                    NATURE OF THE ACTION

          Plaintiff is a prisoner currently confined at Pontiac Correctional Center (“PCC”) and brings

his claims under 42 U.S.C. § 1983 for damages and injunctive relief. In January of 2015, while

Plaintiff was housed at Vienna Correctional Center (“VCC”), Lieutenant Vinson and Correctional

Officer Blessing used excessive force against Plaintiff in violation of his Eighth Amendment right

to be free from cruel and unusual punishment when, without any justification, they injured him,

including slamming Plaintiff’s face into a cell doorway, clenching Plaintiff’s jaw shut, choking

him, and fabricating stories about him in order to put Plaintiff’s life at risk. These acts caused

Plaintiff physical harm, including injuries to his head and mouth, threats to his life, assault, battery,

and emotional distress. Lts. Mitchell and Harrison engaged in wrongful retaliatory conduct and

denied Plaintiff rightful access to the courts when they punished Plaintiff for exercising his

constitutional rights, which harmed Plaintiff. Based on Defendants’ outrageous actions, Plaintiff

is entitled to compensatory and punitive damages and, pursuant to 42 U.S.C. § 1988, to costs and


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attorney fees reasonably incurred in the prosecution of this lawsuit. Plaintiff’s claims are brought

against each Defendant in both their official and individual capacities.

                                           THE PARTIES

        1.      At all times relevant herein, Plaintiff has been a prisoner in the custody of the

Illinois Department of Corrections.

        2.      Plaintiff currently resides at PCC in Pontiac, Illinois.

        3.      Plaintiff previously resided at VCC in Vienna, Illinois.

        4.      Defendant Vinson is a correctional officer at VCC. He is sued in his individual and

official capacities.

        5.      Defendant Blessing is a correctional officer at VCC. He is sued in his individual

and official capacities.

        6.      Defendant Mitchell is a correctional officer at VCC. He is sued in his individual

and official capacities.

        7.      Defendant Harrison is a correctional officer at VCC. He is sued in his individual

and official capacities.

                                  JURISDICTION AND VENUE

        8.      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because this suit is

authorized by 42 U.S.C. § 1983 to redress the deprivation of rights, privileges and immunities

guaranteed by the Eighth Amendment to the United States Constitution.

        9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the events

giving rise to this lawsuit took place in this District.




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                                         BACKGROUND

        10.     Plaintiff has a long history of severe back pain and has more recently experienced

pain in his genitals.

        11.     While incarcerated at VCC, Plaintiff repeatedly sought a diagnosis of his condition

and proper medical care, but Plaintiff was not properly examined and the care he has received has

generally been limited to the rote advice of “eat well and exercise more” along with the occasional

ibuprofen.

        12.     Because Plaintiff’s ongoing and unmediated pain was not adequately treated by

those with the direct responsibility of caring for him, Plaintiff utilized the prison system’s internal

grievance system in order to draw attention to his pain and untreated medical conditions.

        13.     For example, Plaintiff submitted an emergency grievance dated December 1, 2014,

in which he reported “excruciating pain” in his back and discomfort in his genitals for which he

could not even obtain a single ibuprofen without paying 5 dollars. In his grievance, Plaintiff

reported being in “extreme pain for months” at VCC and making repeated requests for proper

treatment. Despite the emergency nature of this grievance, Plaintiff received no immediate

response.1

        14.     Yet, Plaintiff’s pain was unrelenting, and he continued to try and work within the

system to obtain proper medical treatment. In addition to submitting grievances, Plaintiff’s efforts

included requests for crisis intervention, attempts to hold those responsible accountable,




        1
         On February 23, 2015, Plaintiff received a response dated January 27, 2015 (with the
concurrence of VCC’s chief administrative officer dated February 2, 2015), and as with all of his
grievances, this one was denied without obtaining further information from Plaintiff or allowing
him to respond to information that was used against him before the denial was issued.



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declarations of hunger strikes, and the use of other opportunities to draw attention to Plaintiff’s

untreated back pain and worrisome genital pain.

       15.     There efforts were not well received, especially by the ground-level prison

personnel who had contact with Plaintiff. These prison personnel, including Defendants, regarded

Plaintiff as a nuisance and as someone who needed to be put back into his place.

       16.     On or about November 17, 2014, Plaintiff requested proper medical treatment after

prison personnel interfered with Plaintiff’s attempt to take some medication.

       17.     In response, Plaintiff requested crisis intervention and indicated that he would

exercise his right to submit a grievance.

       18.     Lt. Mitchell told Plaintiff that he would be placed in the segregation unit if he

persisted in exercising his right to submit a grievance.

       19.     Plaintiff would not relent and filed a grievance,2 and Plaintiff was placed in

segregation.

       20.     Because Plaintiff had received no substantive response to any of his grievances and

his pain remained untreated, Plaintiff decided to try a different approach, and on December 11,

2014, he sent a complaint letter.

       21.     In his letter, Plaintiff demanded that prison personnel (specifically, Lt. Harrison)

act and respond to his grievances to be afforded proper medical care. If Lt. Harrison failed to act,




       2
          The grievance is dated November 17, 2014, and the grievance was denied via a report
dated February 13, 2015 (with the concurrence of the VCC’s chief administrative officer, dated
March 2, 2015). Plaintiff appealed to the Administrative Review Board (“ARB”), which remanded
the matter back to prison officials at VCC via a letter dated August 19, 2015. Thereafter, the
grievance was denied for a second time via a report dated September 1, 2015 (with the concurrence
of the prison’s chief administrative officer, dated September 14, 2015). Plaintiff appealed, and the
ARB affirmed the second denial via a letter dated October 14, 2015.



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Plaintiff wrote that he would exercise his lawful right to file a civil action for a violation of

Plaintiff’s rights under the Eighth Amendment to the Constitution.

        22.     Lt. Harrison wrongfully retaliated and denied Plaintiff access to the courts by

improperly treating Plaintiff’s statement as a threat and formally charging Plaintiff with making a

threat, engaging in intimidation, and acting with insolence.

        23.     As a direct result, Plaintiff was again placed in segregation.

        24.     Plaintiff again filed a grievance.3

        25.     Because Plaintiff’s grievances, letters, requests for crisis intervention, and even

declarations of hunger strikes failed to attract attention to the issue of Plaintiff’s untreated pain and

only seemed to result in punishment, Plaintiff tried a more drastic approach of obtaining attention

and flooded his cell on December 31, 2014.

        26.     Defendant Vinson responded and acted viciously and inappropriately by

intentionally dumping all of Plaintiff’s personal property in a puddle of water in Plaintiff’s prison

cell. This resulted in the destruction of some of Plaintiff’s personal property, including Plaintiff’s

legal paperwork.

        27.     At that time, Vinson also attempted to assault Plaintiff, but the assault was

prevented by another correctional officer.

        28.     Plaintiff was then handcuffed in the prison shower for no less than 2 hours before

being placed alone in a segregation ward that left Plaintiff entirely isolated.




        3
         The grievance is dated December 11, 2014, and the grievance was denied via a report
dated April 20, 2015 (with the concurrence of the VCC’s chief administrative officer, dated April
20, 2015). Plaintiff appealed to the ARB on May 6, 2015, and the ARB affirmed the denial of his
grievance on October 21, 2015.



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        29.      As a result, Plaintiff expressed suicidal ideation and was taken from segregation to

a crisis cell.

        30.      While in the crisis cell, Plaintiff’s physical condition was monitored, which

monitoring included obtaining physical assessments by a nurse who was accompanied by

correctional officers.

        31.      On December 31, 2015, a prison nurse (accompanied by Defendant Vinson and

another officer) was involved in assessing Plaintiff’s physical condition. This nurse began

ridiculing Plaintiff and stated that she was “more of a man” than Plaintiff would ever be. In

response, Plaintiff stated, “Yeah, I bet you are.”

        32.      In response, Vinson angrily attempted to strike Plaintiff but was only prevented

from doing so by the other accompanying officer who told Vinson, “It isn’t worth it.”

        33.      Later, another correctional officer threatened Plaintiff by telling him that there were

no cameras in range of Plaintiff’s cell and that “they” could do anything they wanted, including

telling prison officials that it was Plaintiff who tried to assault Vinson.

        34.      Plaintiff subsequently declared a hunger strike, knowing that the declaration of a

hunger strike requires that certain prison protocols be filed, including physical assessments by a

health provider.

        35.      On January 3, 2015, Defendants Vinson and Blessing escorted Plaintiff to the

location where the physical assessment was to be performed.

        36.      During the assessment, Plaintiff was attempting to provide information to the

nurse, but Vinson was interfering. Plaintiff encouraged Vinson to stop interfering and stated that

Vinson’s present role was to provide security.




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       37.     The nurse became angry and ended the assessment. Plaintiff protested, stating that

this was a violation of hunger strike protocol and that he would file a grievance.

       38.     This angered Vinson, who pulled the handcuffed Plaintiff back to the crisis cell.

       39.     In returning Plaintiff to his cell, Vinson slammed Plaintiff’s face into the doorway

of the cell, which chipped Plaintiff’s tooth and caused a head injury.

       40.     Vinson then reared back to kick Plaintiff, but another officer stopped Vinson from

kicking Plaintiff.

       41.     With the door of the crisis cell closed behind him, Plaintiff remained handcuffed

with his hands behind his back, and Vinson told him to back up to the “chuck hold” in order to

have the handcuffs removed. When he did so, Vinson violently twisted Plaintiff’s arms causing

him to scream in pain.

       42.     Later, a nurse arrived to obtain Plaintiff’s urine sample. Plaintiff attempted to

obtain medical attention for the injuries he sustained as a result of being slammed into the cell door

by Vinson and of having his arms twisted.

       43.     Instead of obtaining any treatment or being afforded an opportunity to even speak,

Defendant Blessing grabbed Plaintiff around the throat and choked him, while Defendant Vinson

grabbed Plaintiff’s jaw so that Plaintiff could not speak any further to the nurse.

       44.      After the shift change, Plaintiff reported what had happened to him.4




       4
          On or about January 14, 2015, Plaintiff filed a grievance that named Vinson and Blessing
and set forth the facts concerning the assault and other wrongful acts that Plaintiff suffered at their
hands. This grievance was denied. On or about January 22, 2015, Plaintiff appealed to the ARB.
In a letter dated June 5, 2015, the ARB denied Plaintiff’s grievance.




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           45.   Thereafter, on January 4, 2015, Plaintiff was moved to a cell in the health care unit

that had no running water and exterior doors were left ajar or otherwise opened in order to let the

cold in and make Plaintiff extremely cold and uncomfortable, thereby threatening Plaintiff’s health

and wellbeing.

           46.   On January 5, 2015, Warden Hilliard spoke to Plaintiff, and Plaintiff reported to

Warden Hilliard what Vison and Blessing had done to him and how he had been subsequently

treated.

           47.   Warden Hilliard stated that he “smelled a rat” and asked Plaintiff what he wanted.

Plaintiff requested that he be released from segregation and transferred.

           48.   Plaintiff was released from segregation and transferred to PCC on January 14, 2015.

           49.   After the transfer, Plaintiff learned that on or about January 6, 2015, Vinson had

maliciously and falsely told other inmates who were also transferred from VCC to PCC that

Plaintiff had been placed in protective segregation at VCC because Plaintiff had “snitched” on a

gang chief in Chicago.

           50.   Upon information and belief, the other VCC inmates who were transferred to PCC

spread the lie told to them by Vinson.

           51.   As a result, Plaintiff was assaulted at PCC when other inmates threw urine on him

and threatened his life.

           52.   Plaintiff has properly exhausted his administrative remedies relating to all of his

claims.

                                          COUNT I
                     (Excessive Force Against Lt. Vinson and C/O Blessing)

           53.   Plaintiff hereby incorporates, as though fully set forth herein, all of the allegations

of the foregoing paragraphs.



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       54.     Vinson and Blessing intentionally used excessive and extreme force against

Plaintiff when they assaulted him on January 3, 2015. Specifically, Vinson slammed Plaintiff’s

face into a doorway, clenched his jaws in a tight grip, committed at least two batteries, and spread

false stories about him in an attempt to threaten his life. Specifically, Blessing choked Plaintiff.

       55.     Excessive force was used solely to cause Plaintiff harm and for no other purpose.

       56.     Vinson and Blessing both caused Plaintiff harm, including causing Plaintiff injuries

to his head and mouth and emotional distress.

       57.     Vinson and Blessing acted under the color of law.

                                             COUNT II
                                 (Retaliation Against Lt. Mitchell)

       58.     Plaintiff hereby incorporates, as though fully set forth herein, all of the allegations

of the foregoing paragraphs.

       59.     On or about November 17, 2014, Plaintiff stated that he would exercise his

protected right to submit a grievance concerning the denial of adequate medical care to which he

was constitutionally entitled.

       60.     Mitchell wrongfully threatened that, if Plaintiff exercised his protected right to file

a grievance, Plaintiff would be placed in segregation.

       61.     Plaintiff submitted a grievance.

       62.     Plaintiff was placed in segregation for submitting his grievance, which constitutes

an adverse action such that Mitchell’s retaliatory conduct would deter other inmates of ordinary

firmness from exercising their respective rights to file grievances under similar circumstances.

       63.     Plaintiff’s act in filing the grievance caused Mitchell’s retaliatory conduct that

resulted in Plaintiff being placed in segregation.

       64.     Mitchell acted under the color of law.



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                                           COUNT III
                                (Retaliation Against Lt. Harrison)

       65.     Plaintiff hereby incorporates, as though fully set forth herein, all of the allegations

of the foregoing paragraphs.

       66.     On or about December 11, 2014, Plaintiff engaged in constitutionally protected

speech by writing a letter of complaint to Harrison, in which Plaintiff stated that he would exercise

his rights and file a lawsuit against Harrison if Plaintiff did not receive the adequate medical care

to which he was constitutionally entitled.

       67.     Harrison responded by filing an Inmate Disciplinary Report (“IDR”) against

Plaintiff for intimidation, threats, and insolence.

       68.     Plaintiff was punished for sending the letter of complaint by being placed in

segregation for 15 days, which constitutes an adverse action such that Harrison’s retaliatory

conduct would deter other inmates of ordinary firmness from exercising their respective rights to

file grievances under similar circumstances.

       69.     Plaintiff’s act of sending the letter caused Harrison’s retaliatory conduct that

resulted in Plaintiff being placed in segregation.

       70.     Harrison acted under the color of law.

                                           COUNT IV
                      (Denial of Access to the Courts Against Lt. Mitchell)

       71.     Plaintiff hereby incorporates, as though fully set forth herein, all of the allegations

of the foregoing paragraphs.

       72.     On or about November 17, 2014, Mitchell intentionally threatened Plaintiff by

stating that, if Plaintiff exercised his right to file a grievance (thereby commencing the process of




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reaching the courts) concerning the denial of adequate medical care, Plaintiff would be punished

and placed in segregation.

        73.     Plaintiff submitted a grievance, and Plaintiff was placed in segregation.

        74.     Mitchell acted under the color of law.

        75.     Mitchell’s conduct hindered Plaintiff’s effort to rightful assert and pursue a non-

frivolous legal claim.

        76.     Plaintiff was harmed by Mitchell’s misconduct, which included having to endure

the indignity and isolation of being placed in segregation.

                                           COUNT V
                     (Denial of Access to the Courts Against Lt. Harrison)

        77.     Plaintiff hereby incorporates, as though fully set forth herein, all of the allegations

of the foregoing paragraphs.

        78.     On or about December 11, 2014, Harrison intentionally issued an IDR against

Plaintiff––charging him with intimidation, threats and insolence––because Plaintiff sent Harrison

a letter in which Plaintiff stated that he would exercise his rights and file a lawsuit against Harrison

if Plaintiff did not receive the adequate medical care to which he was constitutionally entitled.

        79.     Harrison acted under the color of law.

        80.     Harrison’s conduct hindered Plaintiff’s rightful efforts to pursue a non-frivolous

legal claim by punishing him and isolating him in segregation.

        81.     Plaintiff was harmed by Harrison’s misconduct, which included having to endure

the indignity and isolation of being placed in segregation.

        WHEREFORE, Plaintiff Dwaine Coleman hereby requests against all Defendants, jointly

and severally, (1) compensatory damages; (2) punitive damages; (3) his costs and attorney’s fees

incurred herein; (4) injunctive relief; and (5) for such further relief as this Court deems proper.



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                                              Respectfully submitted,

                                              LEWIS RICE LLC

                                               /s/ Michael J. Hickey
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                                              Counsel for the Plaintiff




                                CERTIFICATE OF SERVICE


        The undersigned certifies that on this 3rd day of June, 2016, a true and correct copy of the
foregoing was served via operation of the Court’s electronic case filing system upon counsel of
record in this matter.

                                               /s/ Michael J. Hickey




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